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                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA



    ELIZABETH SINES                                    :       Case No. 3:17-cv-00072

                  Plaintiff                            :       Judge MOON
                                                               Mag. Judge Hoppe

                                                       :
           -v-

    JASON KESSLER et al.                               :

                                                       :
                  Defendants

    _______________________________________________________

             RESPONSE TO MOTION TO QUASH SUBPOENAS
    _______________________________________________________

            Defendants Jason Kessler, Nathan Damigo, Matthew Parrott, Identity Evropa, and

    Traditionalist Workers Party (the “Defendants”) respond to the pending motion to quash (ECF

    794) by giving notice that the motion should be denied as moot.

           Defendants have reached a negotiated agreement, through Counsel, with the non-

    parties subject to the subpoenas at issue in ECF 794. The Agreement has been fully executed,

    the subpoenas have been formally withdrawn, and the subpoenas cannot be re-issued.

           Accordingly, ECF 794 is moot and should be denied on that basis.


                                        Respectfully Submitted,



                                        s/ Elmer Woodard_____________
                                        Elmer Woodard (VSB No. 27734)
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                                   CERTIFICATE OF SERVICE

            I certify the above was served on July 15, 2020 on all ECF participants and that parties
    requiring service by other means were served as follows:

    Elliott Kline a/k/a Eli Mosley eli.f.mosley@gmail.com deplorabletruth@gmail.com
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                                                         s/ James E. Kolenich
                                                         James E. Kolenich




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